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                    IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF PENNSYLVANIA


  IN RE PHILIPS RECALLED CPAP,                           Master Docket: 2:21-MC-1230
  BI-LEVEL PAP, AND MECHANICAL
  VENTILATOR PRODUCTS LITIGATION                         MDL No. 3014

  This document relates to: All Personal Injury          Judge Joy Flowers Conti
  Cases


                   JOINT MOTION TO ENTER PRETIAL ORDER #31

               Defendants Philips RS North America LLC, Koninklijke Philips N.V., Philips

North America LLC, Philips Holding USA, Inc., and Philips RS North America Holding

Corporation (the “Philips Defendants”), along with Plaintiffs’ Co-Lead Counsel, jointly request

entry of the attached proposed Order setting forth procedures for the Philips Defendants’ filing of

a Master Third-Party Complaint against SoClean, Inc. and DW Management Services, LLC.
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Dated: March 15, 2024                       Respectfully Submitted,


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                                CERTIFICATE OF SERVICE

               I hereby certify that on March 15, 2024, the foregoing document was electronically

filed with the Clerk of the Court and served upon counsel of record through the Court’s ECF filing

system.

                                             /s/ William B. Monahan
                                             William B. Monahan




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